 R. M., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: S. M., and Concerning M. W. No. 22SC279Supreme Court of Colorado, En BancMay 23, 2022
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 21CA1044
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
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